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 1   DAVID C. WEISS
     Special Counsel
 2
     LEO J. WISE
 3   Principal Senior Assistant Special Counsel
     DEREK E. HINES
 4
     Senior Assistant Special Counsel
 5   SEAN F. MULRYNE
     CHRISTOPHER M. RIGALI
 6
     Assistant Special Counsels
 7         950 Pennsylvania Avenue NW, Room B-200
           Washington, D.C. 20530
 8
           Telephone: (771) 217-6090
 9         E-mail:      LJW@usdoj.gov, DEH@usdoj.gov
           E-mail:      SFM@usdoj.gov; CMR@usdoj.gov
10
11   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
12
13                          UNITED STATES DISTRICT COURT
14
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
16   UNITED STATES OF AMERICA,                  No. CR 2:24-cr-00091-ODW
17             Plaintiff,                       DECLARATION OF LEO J. WISE IN
18                                              SUPPORT OF GOVERNMENT’S
                      v.                        FIFTH MOTION IN LIMINE TO
19                                              EXCLUDE IRRELEVANT FACTUAL
     ALEXANDER SMIRNOV,                         ISSUES
20
                                                Hearing Date:   November 25, 2024
21             Defendant.
                                                Hearing Time:   10:00 a.m.
22                                              Location:       Courtroom of the Hon.
                                                                Otis D. Wright II
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 1                             DECLARATION OF LEO J. WISE
 2   I, Leo J. Wise, declare as follows:
 3      1. I am an attorney of record for the United States in the above-captioned case. I have
 4         personal knowledge of the matters contained in this declaration, and, if called as a
 5         witness to testify, I would competently testify to them. This declaration is offered
 6         in support of the government’s Fifth Motion in Limine to Exclude Irrelevant Factual
 7         Issues.
 8      2. The defendant opposes the motion, suggesting that he intends to improperly
 9         introduce evidence, argument, or questioning concerning (1) the defendant’s
10         potential punishment; (2) his pretrial detention status or medical condition involving
11         his eyes; (3) claims that the United States government directed the defendant to
12         meet with Burisma officials in 2017 or foreign intelligence officials in December
13         2023; (4) claims that the defendant’s FBI Handling Agent used a “personal phone”
14         to communicate with him; and/or (5) assertions that the defendant is “loyal” to the
15         United States or a “servant of the United States.”
16      3. On Friday, October 25, 2024, my office emailed a letter to counsel for the defendant
17         regarding the subject of the government’s proposed motions in limine, including the
18         matters, issues, and topics addressed in the Fifth Motion in Limine. On Monday,
19         October 28, 2024, the defendant’s counsel emailed his response, opposing the
20         motion and therefore refusing to stipulate that he will not make arguments or present
21         anything that purports to be evidence, in the presence of the jury unless and until
22         the Court so rules, concerning the following (as set forth in my office’s letter):
23            a. “irrelevant issues and facts about the defendant, including his eye issues,
24                pretrial detention status, and potential punishment.”
25            b. That “the defendant called his Handling Agent on a ‘personal phone’ used by
26                the Handling Agent.”
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 1           c. That “the defendant met with individuals associated with Burisma in 2017
 2              and with foreign intelligence in December 2023 at the direction of the U.S.
 3              government.”
 4           d. That “the defendant was ‘loyal’ to the United States or a ‘servant of the
 5              United States.’”
 6     4. The government will suffer prejudice if its Fifth Motion in Limine is denied, and
 7        the defendant is permitted to introduce evidence concerning (1) the defendant’s
 8        potential punishment; (2) his pretrial detention status or eyes issues; (3) claims that
 9        the United States government directed the defendant to meet with Burisma officials
10        in 2017 or foreign intelligence officials in December 2023; (4) claims that the
11        defendant’s FBI Handling Agent used a “personal phone” to communicate with
12        him; and/or (5) assertions that the defendant is “loyal” to the United States or a
13        “servant of the United States,” because such evidence is irrelevant under Federal
14        Rule of Evidence 401, inadmissible under Federal Rule of Evidence 402, and would
15        cause unfair prejudice under Federal Rule of Evidence 403.
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17                            Executed on this 1st day of November, 2024 in Baltimore,
18                            MD.
19                            Respectfully submitted,
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21                            Leo J. Wise
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